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                                   1                     IN THE UNITED STATES DISTRICT COURT

                                   2                 FOR THE NORTHERN DISTRICT OF CALIFORNIA

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                                   4    MCILWAIN, LLC,                          No. 18-cv-03127 CW
                                   5               Plaintiff,
                                                                                ORDER REGARDING RESPONSIVE
                                   6          v.                                PLEADING
                                   7    STEVE W. BERMAN, et al.,
                                   8               Defendants.

                                   9
                                            After being transferred to this District under 28 U.S.C. §
  United States District Court
Northern District of California




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                                       1631, this action was related to Keller v. Electronic Arts, Case
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                                       Number 09-cv-01967, and reassigned to the undersigned, on August
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                                       24, 2018.   Docket Nos. 52, 53.     No responsive pleading currently
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                                       appears on the docket.    Accordingly, within fourteen days of the
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                                       date the present Order is filed, Defendants may file a responsive
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                                       pleading to the complaint.
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                                            IT IS SO ORDERED.
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                                       Dated: August 30, 2018
                                  18                                          CLAUDIA WILKEN
                                                                              United States District Judge
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